
jDavid Dates, son and heir of John Dates, brought an action of detinue for sundry slaves, in the possession of Andrew Gordon, administrator of Alexander Gordon, deceased. .The declaration claims the slaves, without laying a price or value. The cause was tried on the plea of non detinet, and issue thereon; and the jury found the following verdict: “We of the jury do find for the plaintiff the slaves mentioned in this declaration, if to be had, or the sum of two hundred and fifty pounds current money for each slave, and damages one penny.”
On this verdict; the Court rendered judgment for the slaves, if to be had, and if not, the price found by the jury with the damages and costs. From this judgment, there was an appeal to the General Court.
In October 1786, the cause came on to be heard before the General Court, when the judgment was reversed, as to the price for the slaves, and affirmed as to the residue.
To the judgment of the General Court, the plaintiff Dates brought a writ of error; and now on a hearing, the judgment of the General Court was reversed, and that of the County Court affirmed; and it was further ordered, that the appellant Andrew Gordon, should pay the costs and damages of the appeal out of the effects of his intestate, in his hands to be administered, if there were such effects, but if not, that he should pay them out of his proper goods and chattels.*

[* See Pawley v. Holly, 2 Wm. Black. R. 852; Hollady et ux. v. Littlepage, 2 Munf. 539.]

